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Near Notth National Tine
222 N. LaSalle

Chicago, IL 60601

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RELEASE DEED ne SSTe1 0618

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CAUTION: Consult a lawyer before using or acting RHSp FEE: ,
under this form. Neither the publisher nor the seller of ' E:$9.8¢ ppp FEE! $1.66
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particular purpose. ' COUNTY RECORDER oF DEEDS

DATE:

: 89/29/2610 63:47 pH PG: 1 oF 2

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Know all men by these presents, that EQUITYBUILD, INC. for and in consideration of TEN DOLLARS ($10.00) and for
other good and valuable considerations, the receipt of which is hereby confessed, does hereby remise, convey, release and quit-
claims unto EQUITYBUILD FINANCE, LLC of the County of COLLIN, State of TEXAS, all rights, title, interest, claim
or demand whatsoever he/she may have acquired in, through or by a certain Mortgage bearing the date of 02/21/2014 Recorded in
the Recorder's Office of COOK County in the State of Illinois, on 10/29/2015 as Document Number 1602156229 , the premises
therein described, situated in the County of COOK and the State of Illinois as follows, to-wit:

See attached Legal Description

(PIN): : 20-25-310-008-0000
Commonly Known as: 7625 8 East End, Chicago, IL

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EQUITYBUILD FINANCE, LLC

i ak.
State of: bin fo

County of: A”

the undersigned, a ,Notary Public in and for said County in the State aforesaid Do Certify that,

I,
Shau nA Dauid Acny . personally known to me have signed
and delivered the said instrument as his/her free and voluntary act for the uses and purposes therein set forth.

Given under my hand and Notarial Seal on q 6 20 (=)
JEROME M TAYLOR () ()
Notary Public, State of New York A . Y

Registration #01 TAG328106
Qualified In New York County
Commission Expires July 27, 2019 b>

FOR THE PROTECTION OF THE OWNER, THIS RELEASE NEEDS TO BE FILED WITH THE RECORDER OF DEEDS
IN WHOSE OFFICE THE MORTGAGE OR DEED OF TRUST WAS FILED.

 

 

 

 

 

 
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Legal Description
of premises commonly known as 7625 8 East End. Chicago, IL 60649

The North 6.00 feet of Lot 36, and all of Lots 37 to 40 in Block 11 in James Stinson's Subdivision of East Grand
Crossing in the Southwest quarter of Section 25, Township 38 North, range 15, East of the third principal meridian, in
Cook county, [Llinois.

PERMANENT TAX NUMBER: 20-25-310-008-0000

Prepared by and Mail to:
EquityBuild Finance, LLC
5068 W. Plano Road, #300
Plano, TX 75093

COOK COUNTY
RECORDER OF DEEDS
